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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                             )       Civil Action No. 1:25-cv-00306
 Refugee and Immigrant Center for            )
 Education and Legal Services, et al.,       )
                                             )
               Plaintiffs,                   )
                                             )
 v.                                          )
                                             )
 Kristi Noem, Secretary, U.S. Department     )
 of Homeland Security, et al.,               )
                                             )
               Defendants.                   )
                                             )

                 NOTICE OF APPEAL TO THE U.S. COURT OF APPEALS
                    FOR THE DISTRICT OF COLUMBIA CIRCUIT

        Notice is hereby given that the Defendants appeal to the United States Court of Appeals

 for the District of Columbia Circuit from the Court’s order entering partial final judgment (Doc.

 No. 73), and the accompanying class certification order (Doc. 72) and memorandum opinion
                                                 1
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(Doc. No. 71), entered in this action on July 2, 2025.


     Dated: July 2, 2025                    Respectfully submitted,

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                                        By: /s/ Katherine J. Shinners
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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2025, I electronically filed the notice of appeal with the

Clerk of the Court for the United States District Court for the District of Columbia by using the

CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                                By: /s/ Katherine J. Shinners
                                                    KATHERINE J. SHINNERS
                                                    United States Department of Justice




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